





















Opinion issued October
12, 2011



In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-11-00818-CR

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In
re THOMAS FREEMAN, Relator



&nbsp;



&nbsp;

Original Proceeding on
Petition for Writ of Mandamus



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&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Relator, Thomas Freeman, has filed a
pro se petition for writ of mandamus. &nbsp;See Tex.
Gov’t Code Ann. § 22.221(b) (Vernon 2004); see also Tex. R. App.
P. 52.1.&nbsp; Relator contends that “the
trial court erred when it failed to address [his] plea to its jurisdiction” and
“when it continued to press forward to trial date without resolving the
jurisdiction question.”[1]&nbsp; Relator requests this Court to order the
trial court “to follow the law or in the alternative, [to] rule that [the trial
court] does not have jurisdiction over [relator] and that all the charges
against him should be dismissed.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
deny the petition for writ of mandamus.

PER CURIAM

Panel consists of Justices Keyes, Higley, and Massengale.

Do not
publish.&nbsp; &nbsp;Tex. R. App. P. 47.2(b).

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[1] &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Respondent
is The Honorable David Mendoza, presiding judge of the 178th District Court of
Harris County, Texas. The underlying suit is The State of Texas v. Thomas
Freeman, No. 1280765 in the 178th District Court of Harris County,
Texas, The Hon. David Mendoza, presiding.

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